
ROBB, Judge,
concurring.
I concur in substance of the majority's opinion, but write separately to note that the order purportedly being appealed was signed only by a magistrate. Indiana Code section 38-24-5-8 provides:
Except as provided under sections 5(14) and 9(b) of this chapter, a magistrate:
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(2) may not enter a final appealable order unless sitting as a judge pro tem-pore or a special judge.
Indiana Code section 83-24-5-5(14) provides that a magistrate may "[enter a final order, conduct a sentencing hearing, and impose a sentence on a person convicted of a criminal offense as described in section 9 of this chapter." And Indiana Code seetion 33-24-5-9 provides:
(a) Exeept as provided under subsection (b), a magistrate shall report findings in an evidentiary hearing, a trial, or a jury's verdict to the court. The court shall enter the final order.
(b) If a magistrate presides at a criminal trial, the magistrate may do the following:
(1) Enter a final order.
(2) Conduct a sentencing hearing.
(8) Impose a sentence on a person convicted of a eriminal offense.
Clearly, this was not a criminal trial and there is no indication in the record that Magistrate Pierce was sitting as a judge pro tempore or a special judge. Although the order states that the "[flindings and recommendations of the Court are hereby approved and so ordered[,]" it is signed by "Brian Pierce, Magistrate," and there is no countersignature by the regular sitting judge. Appellant's Appendix at 6. By statute, the magistrate lacked authority to enter a final appealable order on his own.
*1079Pursuant to Appellate Rule 5(A), this court has jurisdiction "in all appeals from Final Judgments of Cireuit, Superior, Probate, and County Courts...."8 I recognize that in City of Indianapolis v. Hicks, 932 N.E.2d 227 (Ind.Ct.App.2010), an opinion that I authored, this court addressed both procedurally and substantively an order granting a motion to correct error and reinstating a negligence suit. The original order was signed only by a magistrate. The trial judge later signed a nune pro tune order to retroactively countersign the order. We held there was no error in this procedure because the CCS entry made contemporaneously with the order signed by the magistrate stated that the "Court approves granting Plaintiff's motion to correct error...." Id. at 232-33. No such written memorial of the trial judge adopting the magistrate's order in any way exists in this case. The Hicks opinion also includes a discussion of waiver, concluding that the defendant's "failure to timely ob-jeet waived any challenge based on [the magistrate's] authority." Id. at 231. We also stated, however, that whether or not the issue was waived, the trial court's nune pro tune was appropriate and there was no error. Id. The waiver discussion was unnecessary, and given the resolution of the nune pro tune issue, there was a final appealable order invoking this court's jurisdiction.
In Floyd v. State, 650 N.E.2d 28 (Ind.1994), cited by Hicks, our supreme court addressed whether the court officers hearing cases in several consolidated appeals were properly appointed as judges pro tempore or special judges. The court held that "the failure of a party to object at trial to the authority of a court officer to enter a final appealable order waives the issue for appeal." Id. at 32. I note first that none of the appealed cases in Floyd concerned magistrates acting in the capacity of a magistrate and that the objection the supreme court indicated should have been made therein was to the appointment | of judicial officers for each case and therefore to their authority to even hear the case. Here, there is no question that the: magistrate had the authority to hear the matter in question and there would have been no reason to object. I also note that, while Floyd disapproved several opinions of this court which had dismissed appeals for lack of a final appealable order in the same circumstances, it specifically cited Senior Judge Buchanan's dissents in two of those cases as "correct statements of the law and precedent in this regard." Floyd, 650 N.E.2d at 33 (citing Scruggs v. State, 609 N.E.2d 1148 (Ind.Ct.App.1998) and Hill v. State, 611 N.E.2d 133 (Ind.Ct.App.1993)). In both those cases, Judge Buchanan dissented from the dismissals, stating, "I cannot agree with the majority that there is no appealable judgment in this case. Unlike the situation in which a master commissioner's findings are not adopted by a judicial officer, irregularities in the appointment of a special judge do not affect the finality of a judgment." Hill, 611 N.E.2d at 133 (emphasis added); see also Scruggs, 609 N.E.2d at 1151. The situation we have here is precisely the converse situation Judge Buchanan referenced: a master commissioner's findings were not adopted by a judicial officer, and by implication, the finality of the judgment is affected.
I also recognize the holdings of the cases cited by the majority supporting the idea that the parties have waived any challenge to the validity of the appealed order by failing to object. See op. at 1075-76 n. 2. Perhaps our caselaw has developed such *1080that parties can waive the requirement of a countersignature, but I question whether they should be able to. The legislature defines the authority of a judicial officer. Magistrates have not been granted the authority to issue a final order in this cireumstance, and trial judges have been given the responsibility to review and approve magisterial action. A trial judge's act of countersigning a recommendation made by a magistrate may be pro forma, but we are courts of rules and we should follow those rules regardless of what the parties do or do not do. I do not believe a party can grant authority the legislature has not provided or confer jurisdiction on this court by simply failing to object. To the extent the cases cited by the majority have held otherwise, I disagree with those cases. To fail to insist on judicial oversight can and has caused parties to experience the downside of that failure. However, since the resolution of this case, in essence, provides the same result as suspending this appeal pending the regular trial judge's review of the magistrate's ree-ommendation, I concur with majority's resolution of the issue.

. The court also has jurisdiction over appeals of interlocutory orders described in Appellate Rule 14 and appeals from agency decisions. Ind. Appellate Rule 5(B) and 5(C).

